   1

   2

   3

   4   40 North Center Street, Suite 200
       Mesa, Arizona 85201
   5   T: (480) 464-1111 F: (480) 464-5692
       Email: centraldocket@jacksonwhitelaw.com
   6   Attorneys for Debtor Marsh Aviation Company
       By:    Kelly G. Black, No. 016376
   7
                                   UNITED STATES BANKRUPTCY COURT
   8
                                              DISTRICT OF ARIZONA
   9

  10   In re:                                                 No. 2:09-bk-23468-CGC
  11   Marsh Aviation Company,                                Supplemental Ballot Report with Certificate
                                                              of Service
  12         Debtor.
                                                              Assigned to: Honorable Charles G. Case, II
  13
                  Marsh Aviation Company, Debtor and Debtor-in-Possession (“Debtor”) previously filed
  14
       its Ballot Report (Doc 88) pursuant to Local Rule 3018-1(c). On May 5, 2011, the Court entered
  15
       an order (Doc 109) authorizing Debtor to send creditors and other interested parties a notice of
  16
       the deadline in which to change ballots. Debtor accordingly provides its supplemental ballot
  17
       report, showing class and individual votes to accept or reject the Plan of Reorganization Dated
  18
       June 15, 2010 (Doc 71) and written ballot changes in connection with the First Amended Plan of
  19
       Reorganization (Doc 91).
  20
       I.         Tally of Ballots Received
  21
                  Attached hereto at Exhibit A is a tally of the ballots received, by class. As there shown,
  22
       each class voted to accept the plan proposed by debtor Marsh Aviation Company.
  23
       II.        List of Creditors and Equity Security Holders Filing Acceptances or Rejections
  24
                  Attached hereto at Exhibit B is a list of all creditors and equity security holders who have
  25
       filed acceptances and rejections of the plan proposed by debtor Marsh Aviation Company. No
  26
       creditor or equity security holder provided written notice of a change in the previously filed
  27
       ballots.
  28
Case 2:09-bk-23468-DPC           Doc 113 Filed 06/01/11 Entered 06/01/11 13:06:21                 Desc    Page 1
                                  Main Document    Page 1 of 39
   1           Comments on particular ballots may be found in the original Ballot Report (Doc 88).
   2   III.    Ballots Received After the Due Date
   3           As reported in the original Ballot Report (Doc 88), Debtor included all ballots and
   4   objections received by November 16, 2010. No ballots have been received since that date.
   5   IV.     Report of Objections
   6           A Limited Objection to Confirmation was filed November 11, 2010 by proposed
   7   attorneys for the Official Committee of Unsecured Creditors (“Committee”). A Supplemental
   8   Objection to Confirmation of Marsh Aviation Company's Plan of Reorganization was filed by
   9   the Committee on May 26, 2011 (Doc 110). No other objections have been filed or received.
  10           Debtor intends to proceed with confirmation under 11 U.S.C. § 1129(a).
  11   V.      Certificate of Service of Disclosure Statement, Ballots, and Confirmation Hearing
  12           Debtor solicited votes for its plan by circulating the Disclosure Statement (Doc 70),
  13   approved by the Court by prior order (Doc 79), to all creditors and interest holders, together with
  14   ballots for each class. (See Exhibit C hereto, showing page 3 of the Disclosure Statement as
  15   served, with objection and balloting deadlines; Exhibit D hereto, showing the form of ballots
  16   served; Exhibit E hereto, showing service of the Disclosure Statement and ballots). The only
  17   objections received are those described in part IV.
  18           Debtor and the Committee subsequently worked to resolve the Committee’s objection.
  19   On May 5, 2011, the Court granted Debtor’s motion to set a continued confirmation hearing and
  20   approved Debtor’s service of Debtor’s proposed Notice. (Doc 109.) The Notice was fully
  21   entitled:
  22           NOTICE OF CONTINUED HEARING ON PLAN CONFIRMATION and
  23           NOTICE OF DEADLINE TO CHANGE BALLOTS and
  24           NOTICE OF LIKELY STIPULATION and
  25           NOTICE OF AMENDMENTS TO PLAN OF REORGANIZATION and
  26           SUPPLEMENT TO DISCLOSURE STATEMENT.
  27   (Exhibit A to Doc 107; separately filed as Doc 112.) Debtor served the Notice on May 5, 2011
  28   to the Committee, to the Trustee, and to all persons who have requested notice in this matter.
Case 2:09-bk-23468-DPC        Doc 113 Filed 06/01/11 Entered 06/01/11 13:06:21                Desc      Page 2
                               Main Document    Page 2 of 39
   1   (See Exhibit F hereto.). Debtor also served the Notice on May 5, 2011 to all creditors, equity
   2   interest holders, and other interested parties appearing on the master mailing certificate. (Doc
   3   111.)
   4
                DATED this 1st day of June, 2011.
   5
                                                        JACKSON WHITE
   6

   7                                                    /s/ Kelly G. Black
                                                        Attorneys for Debtor Marsh Aviation Company
   8                                                    By: Kelly G. Black, No. 016376

   9   Copies served this same date by email to:

  10   BRYAN A. ALBUE on behalf of Creditor Committee THE OFFICIAL COMMITTEE OF
       UNSECURED CREDITORS
  11   balbue@shermanhoward.com, balbue@shermanhoward.com;efiling@shermanhoward.com

  12   RICHARD J. CUELLAR on behalf of U.S. Trustee U.S. TRUSTEE
       ric.j.cuellar@usdoj.gov, coleen.craig@usdoj.gov;connie.s.hoover@usdoj.gov
  13
       MARK A. TUCKER on behalf of Creditor Leland Dean
  14   mark.tucker@azbar.org

  15
       /s/ Kelly G. Black
  16   13248-021\383793.docx


  17

  18

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  27

  28
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                               Exhibit A

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                                                                                          IN THE UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF ARIZONA

                                                   CASE NAME                    Marsh Aviation Company                                                  CASE NUMBER     2:09-bk-23468-CGC
                                                                                                                                                        BALLOT REPORT
                                                   PLAN ACCEPTED?                                               Yes                                     HEARING DATE              Thursday, November 18, 2010
                                                   CONSENTING IMPAIRED CLASS?                                   Yes

                                                                                                   # Cast       # Accepting           # Rejecting       $ Cast          $ Accepting             $ Rejecting
                                                   CLASS 1 Accepts?                 Yes                  10                      9                  1      105,662.99             90,674.55        14,988.44
                                                                                                                   90.0% of Number                                          85.8% of Amount
                                                                   Impaired?        Yes




                        Case 2:09-bk-23468-DPC
                                                         Non-Insiders Accept?       Yes                     9                    8                  1       94,712.99             79,724.55        14,988.44
                                                                                                                   88.9% of Number                                          84.2% of Amount

                                                   CLASS 2 Accepts?                 Yes                     1                   1                   0            1.00                 1.00               -
                                                                                                                 100.0% of Number                                         100.0% of Amount
                                                                   Impaired?        Yes
                                                         Non-Insiders Accept?       None Voting             0                    0                  0             -                    -                 -
                                                                                                                       None Voting                                              None Voting




 Main Document
                                                   CLASS 3 Accepts?                 Yes                     1                   1                   0      201,272.86           201,272.86               -
                                                                                                                 100.0% of Number                                         100.0% of Amount
                                                                   Impaired?        Yes
                                                         Non-Insiders Accept?       None Voting             0                    0                  0             -                    -                 -
                                                                                                                       None Voting                                              None Voting




                  Page 5 of 39
                                                   CLASS 4 Accepts?                 Yes                     1                   1                   0            1.00                 1.00               -
                                                                                                                 100.0% of Number                                         100.0% of Amount
                                                                   Impaired?        Yes
                                                         Non-Insiders Accept?       None Voting             0                    0                  0             -                    -                 -
                                                                                                                       None Voting                                              None Voting

                                                   CLASS 5 Accepts?                 Yes                     1                   1                   0      990,349.18           990,349.18               -
                                                                                                                 100.0% of Number                                         100.0% of Amount




Doc 113 Filed 06/01/11 Entered 06/01/11 13:06:21
                                                                   Impaired?        Yes
                                                         Non-Insiders Accept?       Yes                     1                   1                   0      990,349.18           990,349.18               -
                                                                                                                 100.0% of Number                                         100.0% of Amount




                        Desc
                                                   CLASS 6 Accepts?             Yes           26                 21   5   4,309,840.78       4,277,774.78   32,066.00
                                                                                                    80.8% of Number                       99.3% of Amount
                                                                   Impaired?    Yes
                                                         Non-Insiders Accept?   Yes           23                 18   5    784,059.45          751,993.45   32,066.00
                                                                                                    78.3% of Number                       95.9% of Amount

                                                   CLASS 7 Accepts?             Yes            4                  4   0        100.00              100.00         -
                                                                                                   100.0% of Number                      100.0% of Amount
                                                                   Impaired?    Yes
                                                         Non-Insiders Accept?   None Voting    0                  0   0            -                 -            -
                                                                                                        None Voting                           None Voting




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                        Desc
                                Exhibit B

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Name                                     Insider    Class       Ballott Amount Scheduled Amount POC Amount Claim for Voting Vote
Darrel L. Noland                         No                 6             260.00                       206.00         206.00 Accepts
Don McDowell                             No                 6           2,888.00                     5,884.00       2,888.00 Rejects
Larry Adams                              No                 6           8,352.75                    25,058.25       8,352.75 Rejects
John McKown                              No                 6           4,444.65                    13,333.95       4,444.65 Rejects
Wallace Herbert                          No                 6          14,695.20                    44,625.60      14,695.20 Rejects
American Certified Electronics           No                 6           2,870.99          2,870.99                  2,870.99 Accepts
William G. Walker                        No                 1          10,950.00                    10,950.00      10,950.00 Accepts
William G. Walker dba Flightcor          No                 6        359,741.79                    359,741.79    359,741.79 Accepts
John Clancy                              No                 1          10,950.00                    10,950.00      10,950.00 Accepts
John Clancy                              No                 6          13,484.45                    13,484.45      13,484.45 Accepts
Jeffrey F. Jensen                        No                 6           1,685.40                          -         1,685.40 Rejects
Jeffrey F. Jensen                        No                 1          14,988.44                    15,763.80      14,988.44 Rejects
Thomas Gigax                             No                 1           3,037.78                     3,074.55       3,074.55 Accepts
Thomas Gigax                             No                 6           3,037.78                          -              -   Accepts
Tram Luu                                 No                 6          31,126.20                    20,176.20      20,176.20 Accepts
Beverly Roberson                         No                 1          10,950.00                    10,950.00      10,950.00 Accepts
Beverly Roberson                         No                 6          12,612.59                    12,612.59      12,612.59 Accepts
Amer High Performance                    No                 6             642.00                       645.00         642.00 Accepts
B.O. Kuipers                             No                 1          10,950.00                    10,950.00      10,950.00 Accepts
B.O. Kuipers                             No                 6          66,043.04                    55,093.04      55,093.04 Accepts
Beverly Roberson                         No                 1          23,562.55                          -              -   Duplicative
Tram Luu                                 No                 1          31,126.20                    10,950.00      10,950.00 Accepts
Spectrum Associates, Inc.                No                 6           1,450.00                     1,450.00       1,450.00 Accepts
A.L.F. Enterprises, Inc.                 No                 6             300.00                       300.00         300.00 Accepts
Industrial Electric Wire & Cable, Inc.   No                 6             843.76                       843.76         843.76 Accepts
Aircraft Wind Company                    No                 6                            23,326.02                 23,326.02 Accepts
Darrell Floate                           No                 1                                       10,950.00      10,950.00 Accepts
Darrell Floate                           No                 6                             39709.55  28,775.55      28,775.55 Accepts
Check Six Consultants, LLC               No                 6          25,843.75                    25,625.00      25,625.00 Accepts
Paula K. Liford                          No                 6          32,346.06                    32,346.06      32,346.06 Accepts
Paula K. Liford                          No                 1          10,950.00                    10,950.00      10,950.00 Accepts
Glen R. Madland                          No                 6        150,000.00                    150,000.00    150,000.00 Accepts
Colby & Powell, PLC                      No                 6          24,500.00                    24,500.00      24,500.00 Accepts
Atwood Enterprises Inc. Liq. Trust       No                 5        990,349.18                    990,349.18    990,349.18 Accepts
US Technical Consultants                 No                 6                             3,125.00                  3,125.00 Neither
Hartzell Propeller Inc                   No                 6        136,064.12                    136,064.12    136,064.12 Neither
Edward H. Allen                          Yes                6          74,473.22                    74,473.22      74,473.22 Accepts
Edward H. Allen                          Yes                3        203,272.83                    201,272.86    201,272.86 Accepts
Edward H. Allen                          Yes                1          10,950.00                    10,950.00      10,950.00 Accepts
Edward H. Allen                          Yes                7                                            3.80           3.80 Accepts
Thomas Kleefisch                         Yes                7                                           22.05          22.05 Accepts
TKleefisch                               Yes                7                                           22.05          22.05 Accepts
Floyd Stilwell                           Yes                4                                 1.00                      1.00 Accepts
Floyd Stilwell                           Yes                7                                           52.10          52.10 Accepts
Floyd Stilwell                           Yes                6                         3,241,215.30             3,241,215.30 Accepts
Craig Ford                               Yes                2                                            1.00           1.00 Accepts
Craig Ford                               Yes                6                                      210,092.81    210,092.81 Accepts




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                               Exhibit C

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   1
               •       How the Plan proposes to treat claims or equity interests of the type you hold (i.e.,
   2
                       what you will receive on your claim or equity interest if the plan is confirmed),
   3           •       Who can vote on or object to the Plan,
   4           •       What factors the Bankruptcy Court (the “Court”) will consider when deciding
   5                   whether to confirm the Plan,
   6           •       Why the Debtors believe the Plan is feasible, and how the treatment of your

   7                   claim or equity interest under the Plan compares to what you would receive on

   8                   your claim or equity interest in liquidation, and

   9           •      The effect of confirmation of the Plan.
               Be sure to read the Plan as well as the Disclosure Statement. This Disclosure Statement
  10
       describes the Plan, but it is the Plan itself that will, if confirmed, establish your rights.
  11
               B.      Deadlines for Voting and Objecting; Date of Plan Confirmation Hearing
  12
               The Court has not yet confirmed the Plan described in this Disclosure Statement. This
  13
       section describes the procedures pursuant to which the Plan will or will not be confirmed.
  14
                       1.      Time and Place of the Hearing to Confirm the Plan
  15
               The hearing at which the Court will determine whether to confirm the Plan will take
  16
       place on November 18, 2010, at 11:00 a.m., in Courtroom 601, at the United States Courthouse,
  17
       230 North First Avenue, Phoenix, Arizona 85003.
  18
                       2.      Deadline For Voting to Accept or Reject the Plan
  19
               If you are entitled to vote to accept or reject the plan, vote on the enclosed ballot and
  20
       return the ballot in the enclosed envelope to Kelly G. Black, 40 N. Center St., Ste. 200, Mesa,
  21
       AZ 85203. See section IV.A below for a discussion of voting eligibility requirements.
  22
               Your ballot must be received by November 11, 2010, or it will not be counted.
  23

  24
                       3.      Deadline For Objecting to Confirmation of the Plan

               Objections to the confirmation of the Plan must be filed with the Court and served upon
  25
       Kelly G. Black at 40 N. Center St., Ste. 200, Mesa, AZ 85203 by November 11, 2010.
  26

  27

  28
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                               Exhibit D

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                           I THE U ITED STATES BA KRUPTCY COURT
                                   FOR THE DISTRICT OF ARIZO A

       In re:                                           Chapter 11 Proceedings
       MARSH AVIATION COMPANY,                          Case No.: 2:09-BK-23468-CGC
                                     Debtors.
                         CLASS ONE BALLOT FOR ACCEPTING OR REJECTING
                                   PLAN OF REORGANIZATION

Marsh Aviation Company, Debtors and Plan Proponents, filed a plan of reorganization dated June 15, 2010 (the
“Plan”) for the Debtor in this case. The Court has approved a disclosure statement with respect to the Plan (the
“Disclosure Statement”). The Disclosure Statement provides information to assist you in deciding how to vote
your ballot. If you do not have a Disclosure Statement, you may obtain a copy from Kelly G. Black, 40 N.
Center St., Ste. 200, Mesa, AZ 85201, tel. 480-464-1111, fax 480-464-5692. Court approval of the disclosure
statement does not indicate approval of the Plan by the Court.
You should review the Disclosure Statement and the Plan before you vote. You may wish to seek legal
advice concerning the Plan and your classification and treatment under the Plan. Your claim has been
placed in class one under the Plan. If you hold claims or equity interests in more than one class, you will
receive a ballot for each class in which you are entitled to vote.
If your ballot is not received by Kelly G. Black, 40 . Center St., Ste. 200, Mesa, AZ 85201 on or before
  ovember 11, 2010, and such deadline is not extended, your vote will not count as either an acceptance or
rejection of the Plan.
If the Plan is confirmed by the Bankruptcy Court it will be binding on you whether or not you vote.

                            ACCEPTA CE OR REJECTIO OF THE PLA

The undersigned, holder of a Class One claim against the Debtor in the unpaid amount of $_____________,

       (Check one box only)

       [ ] ACCEPTS THE PLAN [ ] REJECTS THE PLAN

Dated: ___________________

                      Print or type name: _________________________

                      Signature: _________________________________

                      Title (if corporation or partnership) _____________

                      Address:       _____________________________
                                     _____________________________

RETURN THIS BALLOT TO:

Kelly G. Black
40 N. Center St., Ste. 200
Mesa, AZ 85201
      Case 2:09-bk-23468-DPC         Doc 113 Filed 06/01/11 Entered 06/01/11 13:06:21               Desc
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                           I THE U ITED STATES BA KRUPTCY COURT
                                    FOR THE DISTRICT OF ARIZO A

       In re:                                           Chapter 11 Proceedings
       MARSH AVIATION COMPANY,                          Case No.: 2:09-BK-23468-CGC
                                     Debtors.
                        CLASS TWO BALLOT FOR ACCEPTING OR REJECTING
                                  PLAN OF REORGANIZATION

Marsh Aviation Company, Debtors and Plan Proponents, filed a plan of reorganization dated June 15, 2010 (the
“Plan”) for the Debtor in this case. The Court has approved a disclosure statement with respect to the Plan (the
“Disclosure Statement”). The Disclosure Statement provides information to assist you in deciding how to vote
your ballot. If you do not have a Disclosure Statement, you may obtain a copy from Kelly G. Black, 40 N.
Center St., Ste. 200, Mesa, AZ 85201, tel. 480-464-1111, fax 480-464-5692. Court approval of the disclosure
statement does not indicate approval of the Plan by the Court.
You should review the Disclosure Statement and the Plan before you vote. You may wish to seek legal
advice concerning the Plan and your classification and treatment under the Plan. Your claim has been
placed in class two under the Plan. If you hold claims or equity interests in more than one class, you will
receive a ballot for each class in which you are entitled to vote.
If your ballot is not received by Kelly G. Black, 40 . Center St., Ste. 200, Mesa, AZ 85201 on or before
  ovember 11, 2010, and such deadline is not extended, your vote will not count as either an acceptance or
rejection of the Plan.
If the Plan is confirmed by the Bankruptcy Court it will be binding on you whether or not you vote.

                             ACCEPTA CE OR REJECTIO OF THE PLA

The undersigned, holder of a Class Two claim against the Debtor in the unpaid amount of $_____________,

       (Check one box only)

       [ ] ACCEPTS THE PLAN [ ] REJECTS THE PLAN

Dated: ___________________

                      Print or type name: _________________________

                      Signature: _________________________________

                      Title (if corporation or partnership) _____________

                      Address:       _____________________________
                                     _____________________________

RETURN THIS BALLOT TO:

Kelly G. Black
40 N. Center St., Ste. 200
Mesa, AZ 85201
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                           I THE U ITED STATES BA KRUPTCY COURT
                                    FOR THE DISTRICT OF ARIZO A

       In re:                                           Chapter 11 Proceedings
       MARSH AVIATION COMPANY,                          Case No.: 2:09-BK-23468-CGC
                                     Debtors.
                       CLASS THREE BALLOT FOR ACCEPTING OR REJECTING
                                  PLAN OF REORGANIZATION

Marsh Aviation Company, Debtors and Plan Proponents, filed a plan of reorganization dated June 15, 2010 (the
“Plan”) for the Debtor in this case. The Court has approved a disclosure statement with respect to the Plan (the
“Disclosure Statement”). The Disclosure Statement provides information to assist you in deciding how to vote
your ballot. If you do not have a Disclosure Statement, you may obtain a copy from Kelly G. Black, 40 N.
Center St., Ste. 200, Mesa, AZ 85201, tel. 480-464-1111, fax 480-464-5692. Court approval of the disclosure
statement does not indicate approval of the Plan by the Court.
You should review the Disclosure Statement and the Plan before you vote. You may wish to seek legal
advice concerning the Plan and your classification and treatment under the Plan. Your claim has been
placed in class three under the Plan. If you hold claims or equity interests in more than one class, you will
receive a ballot for each class in which you are entitled to vote.
If your ballot is not received by Kelly G. Black, 40 . Center St., Ste. 200, Mesa, AZ 85201 on or before
  ovember 11, 2010, and such deadline is not extended, your vote will not count as either an acceptance or
rejection of the Plan.
If the Plan is confirmed by the Bankruptcy Court it will be binding on you whether or not you vote.

                             ACCEPTA CE OR REJECTIO OF THE PLA

The undersigned, holder of a Class Three claim against the Debtor in the unpaid amount of $_____________,

       (Check one box only)

       [ ] ACCEPTS THE PLAN [ ] REJECTS THE PLAN

Dated: ___________________

                      Print or type name: _________________________

                      Signature: _________________________________

                      Title (if corporation or partnership) _____________

                      Address:       _____________________________
                                     _____________________________

RETURN THIS BALLOT TO:

Kelly G. Black
40 N. Center St., Ste. 200
Mesa, AZ 85201
      Case 2:09-bk-23468-DPC         Doc 113 Filed 06/01/11 Entered 06/01/11 13:06:21               Desc
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                           I THE U ITED STATES BA KRUPTCY COURT
                                    FOR THE DISTRICT OF ARIZO A

       In re:                                           Chapter 11 Proceedings
       MARSH AVIATION COMPANY,                          Case No.: 2:09-BK-23468-CGC
                                     Debtors.
                        CLASS FOUR BALLOT FOR ACCEPTING OR REJECTING
                                  PLAN OF REORGANIZATION

Marsh Aviation Company, Debtors and Plan Proponents, filed a plan of reorganization dated June 15, 2010 (the
“Plan”) for the Debtor in this case. The Court has approved a disclosure statement with respect to the Plan (the
“Disclosure Statement”). The Disclosure Statement provides information to assist you in deciding how to vote
your ballot. If you do not have a Disclosure Statement, you may obtain a copy from Kelly G. Black, 40 N.
Center St., Ste. 200, Mesa, AZ 85201, tel. 480-464-1111, fax 480-464-5692. Court approval of the disclosure
statement does not indicate approval of the Plan by the Court.
You should review the Disclosure Statement and the Plan before you vote. You may wish to seek legal
advice concerning the Plan and your classification and treatment under the Plan. Your claim has been
placed in class four under the Plan. If you hold claims or equity interests in more than one class, you will
receive a ballot for each class in which you are entitled to vote.
If your ballot is not received by Kelly G. Black, 40 . Center St., Ste. 200, Mesa, AZ 85201 on or before
  ovember 11, 2010, and such deadline is not extended, your vote will not count as either an acceptance or
rejection of the Plan.
If the Plan is confirmed by the Bankruptcy Court it will be binding on you whether or not you vote.

                             ACCEPTA CE OR REJECTIO OF THE PLA

The undersigned, holder of a Class Four claim against the Debtor in the unpaid amount of $_____________,

       (Check one box only)

       [ ] ACCEPTS THE PLAN [ ] REJECTS THE PLAN

Dated: ___________________

                      Print or type name: _________________________

                      Signature: _________________________________

                      Title (if corporation or partnership) _____________

                      Address:       _____________________________
                                     _____________________________

RETURN THIS BALLOT TO:

Kelly G. Black
40 N. Center St., Ste. 200
Mesa, AZ 85201
      Case 2:09-bk-23468-DPC         Doc 113 Filed 06/01/11 Entered 06/01/11 13:06:21               Desc
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                           I THE U ITED STATES BA KRUPTCY COURT
                                    FOR THE DISTRICT OF ARIZO A

       In re:                                           Chapter 11 Proceedings
       MARSH AVIATION COMPANY,                          Case No.: 2:09-BK-23468-CGC
                                     Debtors.
                        CLASS FIVE BALLOT FOR ACCEPTING OR REJECTING
                                   PLAN OF REORGANIZATION

Marsh Aviation Company, Debtors and Plan Proponents, filed a plan of reorganization dated June 15, 2010 (the
“Plan”) for the Debtor in this case. The Court has approved a disclosure statement with respect to the Plan (the
“Disclosure Statement”). The Disclosure Statement provides information to assist you in deciding how to vote
your ballot. If you do not have a Disclosure Statement, you may obtain a copy from Kelly G. Black, 40 N.
Center St., Ste. 200, Mesa, AZ 85201, tel. 480-464-1111, fax 480-464-5692. Court approval of the disclosure
statement does not indicate approval of the Plan by the Court.
You should review the Disclosure Statement and the Plan before you vote. You may wish to seek legal
advice concerning the Plan and your classification and treatment under the Plan. Your claim has been
placed in class five under the Plan. If you hold claims or equity interests in more than one class, you will
receive a ballot for each class in which you are entitled to vote.
If your ballot is not received by Kelly G. Black, 40 . Center St., Ste. 200, Mesa, AZ 85201 on or before
  ovember 11, 2010, and such deadline is not extended, your vote will not count as either an acceptance or
rejection of the Plan.
If the Plan is confirmed by the Bankruptcy Court it will be binding on you whether or not you vote.

                             ACCEPTA CE OR REJECTIO OF THE PLA

The undersigned, holder of a Class Five claim against the Debtor in the unpaid amount of $_____________,

       (Check one box only)

       [ ] ACCEPTS THE PLAN [ ] REJECTS THE PLAN

Dated: ___________________

                      Print or type name: _________________________

                      Signature: _________________________________

                      Title (if corporation or partnership) _____________

                      Address:       _____________________________
                                     _____________________________

RETURN THIS BALLOT TO:

Kelly G. Black
40 N. Center St., Ste. 200
Mesa, AZ 85201
      Case 2:09-bk-23468-DPC         Doc 113 Filed 06/01/11 Entered 06/01/11 13:06:21               Desc
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                           I THE U ITED STATES BA KRUPTCY COURT
                                   FOR THE DISTRICT OF ARIZO A

       In re:                                           Chapter 11 Proceedings
       MARSH AVIATION COMPANY,                          Case No.: 2:09-BK-23468-CGC
                                     Debtors.
                         CLASS SIX BALLOT FOR ACCEPTING OR REJECTING
                                    PLAN OF REORGANIZATION

Marsh Aviation Company, Debtors and Plan Proponents, filed a plan of reorganization dated June 15, 2010 (the
“Plan”) for the Debtor in this case. The Court has approved a disclosure statement with respect to the Plan (the
“Disclosure Statement”). The Disclosure Statement provides information to assist you in deciding how to vote
your ballot. If you do not have a Disclosure Statement, you may obtain a copy from Kelly G. Black, 40 N.
Center St., Ste. 200, Mesa, AZ 85201, tel. 480-464-1111, fax 480-464-5692. Court approval of the disclosure
statement does not indicate approval of the Plan by the Court.

You should review the Disclosure Statement and the Plan before you vote. You may wish to seek legal
advice concerning the Plan and your classification and treatment under the Plan. Your claim has been
placed in class six under the Plan. If you hold claims or equity interests in more than one class, you will
receive a ballot for each class in which you are entitled to vote.

If your ballot is not received by Kelly G. Black, 40 . Center St., Ste. 200, Mesa, AZ 85201 on or before
  ovember 11, 2010, and such deadline is not extended, your vote will not count as either an acceptance or
rejection of the Plan.

If the Plan is confirmed by the Bankruptcy Court it will be binding on you whether or not you vote.

                            ACCEPTA CE OR REJECTIO OF THE PLA

The undersigned, holder of a Class Six claim against the Debtor in the unpaid amount of $_____________,

       (Check one box only)

       [ ] ACCEPTS THE PLAN [ ] REJECTS THE PLAN

Dated: __________________

                      Print or type name: _________________________

                      Signature: _________________________________

                      Title (if corporation or partnership) _____________

                      Address:       _____________________________
                                     _____________________________

RETURN THIS BALLOT TO:


      Case 2:09-bk-23468-DPC         Doc 113 Filed 06/01/11 Entered 06/01/11 13:06:21               Desc
                                     Main Document    Page 17 of 39
Kelly G. Black
      40 N. Center St., Ste. 200
Mesa, AZ 85201




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                                   Main Document    Page 18 of 39
                           I THE U ITED STATES BA KRUPTCY COURT
                                    FOR THE DISTRICT OF ARIZO A

       In re:                                           Chapter 11 Proceedings
       MARSH AVIATION COMPANY,                          Case No.: 2:09-BK-23468-CGC
                                     Debtors.
                       CLASS SEVEN BALLOT FOR ACCEPTING OR REJECTING
                                  PLAN OF REORGANIZATION

Marsh Aviation Company, Debtors and Plan Proponents, filed a plan of reorganization dated June 15, 2010 (the
“Plan”) for the Debtor in this case. The Court has approved a disclosure statement with respect to the Plan (the
“Disclosure Statement”). The Disclosure Statement provides information to assist you in deciding how to vote
your ballot. If you do not have a Disclosure Statement, you may obtain a copy from Kelly G. Black, 40 N.
Center St., Ste. 200, Mesa, AZ 85201, tel. 480-464-1111, fax 480-464-5692. Court approval of the disclosure
statement does not indicate approval of the Plan by the Court.
You should review the Disclosure Statement and the Plan before you vote. You may wish to seek legal
advice concerning the Plan and your classification and treatment under the Plan. Your claim has been
placed in class seven under the Plan. If you hold claims or equity interests in more than one class, you
will receive a ballot for each class in which you are entitled to vote.
If your ballot is not received by Kelly G. Black, 40 . Center St., Ste. 200, Mesa, AZ 85201 on or before
  ovember 11, 2010, and such deadline is not extended, your vote will not count as either an acceptance or
rejection of the Plan.
If the Plan is confirmed by the Bankruptcy Court it will be binding on you whether or not you vote.

                             ACCEPTA CE OR REJECTIO OF THE PLA

The undersigned, holder of a Class Seven claim against the Debtor in the unpaid amount of $_____________,

       (Check one box only)

       [ ] ACCEPTS THE PLAN [ ] REJECTS THE PLAN

Dated: ___________________

                      Print or type name: _________________________

                      Signature: _________________________________

                      Title (if corporation or partnership) _____________

                      Address:       _____________________________
                                     _____________________________

RETURN THIS BALLOT TO:

Kelly G. Black
40 N. Center St., Ste. 200
Mesa, AZ 85201
      Case 2:09-bk-23468-DPC         Doc 113 Filed 06/01/11 Entered 06/01/11 13:06:21               Desc
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                                Exhibit E

Case 2:09-bk-23468-DPC   Doc 113 Filed 06/01/11 Entered 06/01/11 13:06:21   Desc
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 Bankruptcy Mailing Service.com                            CERTIFICATE OF SERVICE
 9155A E. Broadway
 Tucson, AZ 85710                                          UNITED STATES BANKRUPTCY COURT
 (520) 885-2961                                                   DISTRICT OF ARIZONA
 ATTORNEY NAME:            Kelly G. Black
 ADDRESS:                  40 North Center Street, Suite 200
                           Mesa, Arizona 85201
 PHONE NUMBER:             (480) 464-1111

 CASE NO.:                 2:09-bk-23468-CGC

 DEBTOR:                   Marsh Aviation Company C1 and C6

 Date Received:            10/18/2010
 Time Received:            5:15 PM
 Total Creditors:          11

 The undersigned certifies that on Tuesday, October 19, 2010 at 10:44:21 AM, I served by prepaid first class mail a
 copy of:

   CLASS ONE BALLOT FOR ACCEPTING OR REJECTING PLAN OF REORGANIZATION
   CLASS SIX BALLOT FOR ACCEPTING OR REJECTING PLAN OF REORGANIZATION
   DISCLOSURE STATEMENT PLAN DATED: October 14, 2010

 in accordance with FED. R. BANKR. P. 2002 and 11 U.S.C. § 342(c) (if applicable) on parties in interest contained
 on the attached list, for this case, obtained on Tuesday, October 19, 2010, and, if applicable, other interested
 parties: via first class United States Mail, postage prepaid, with sufficient postage thereon, to the parties listed on
 the Attached List (11 Parties) matrix, provided by Debtor’s Counsel, as attached and incorporated hereto and
 herein.

 Additionally, the undersigned certifies that on Tuesday, October 19, 2010 at 10:44:24 PM, I served by prepaid first
 class mail a copy of:

   CLASS TWO BALLOT FOR ACCEPTING OR REJECTING PLAN OF REORGANIZATION
   CLASS SIX BALLOT FOR ACCEPTING OR REJECTING PLAN OF REORGANIZATION
   DISCLOSURE STATEMENT PLAN DATED: October 14, 2010

 in accordance with FED. R. BANKR. P. 2002 and 11 U.S.C. § 342(c) (if applicable) on parties in interest contained
 on the attached list, for this case, obtained on Tuesday, October 19, 2010, and, if applicable, other interested
 parties: via first class United States Mail, postage prepaid, with sufficient postage thereon, to the parties listed on
 the Attached List (1 Party) matrix, provided by Debtor’s Counsel, as attached and incorporated hereto and
 herein.

 Additionally, the undersigned certifies that on Tuesday, October 19, 2010 at 10:52:33 PM, I served by prepaid first
 class mail a copy of:

   CLASS THREE BALLOT FOR ACCEPTING OR REJECTING PLAN OF REORGANIZATION
   CLASS ONE BALLOT FOR ACCEPTING OR REJECTING PLAN OF REORGANIZATION
   CLASS SIX BALLOT FOR ACCEPTING OR REJECTING PLAN OF REORGANIZATION
   DISCLOSURE STATEMENT PLAN DATED: October 14, 2010




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 in accordance with FED. R. BANKR. P. 2002 and 11 U.S.C. § 342(c) (if applicable) on parties in interest contained
 on the attached list, for this case, obtained on Tuesday, October 19, 2010, and, if applicable, other interested
 parties: via first class United States Mail, postage prepaid, with sufficient postage thereon, to the parties listed on
 the Attached List (1 Party) matrix, provided by Debtor’s Counsel, as attached and incorporated hereto and
 herein.

 Additionally, the undersigned certifies that on Tuesday, October 19, 2010 at 10:55:11 PM, I served by prepaid first
 class mail a copy of:

   CLASS FOUR BALLOT FOR ACCEPTING OR REJECTING PLAN OF REORGANIZATION
   CLASS SIX BALLOT FOR ACCEPTING OR REJECTING PLAN OF REORGANIZATION
   CLASS SEVEN BALLOT FOR ACCEPTING OR REJECTING PLAN OF REORGANIZATION
   DISCLOSURE STATEMENT PLAN DATED: October 14, 2010

 in accordance with FED. R. BANKR. P. 2002 and 11 U.S.C. § 342(c) (if applicable) on parties in interest contained
 on the attached list, for this case, obtained on Tuesday, October 19, 2010, and, if applicable, other interested
 parties: via first class United States Mail, postage prepaid, with sufficient postage thereon, to the parties listed on
 the Attached List (1 Party) matrix, provided by Debtor’s Counsel, as attached and incorporated hereto and
 herein.

 Additionally, the undersigned certifies that on Tuesday, October 19, 2010 at 11:01:32 PM, I served by prepaid first
 class mail a copy of:

   CLASS FIVE BALLOT FOR ACCEPTING OR REJECTING PLAN OF REORGANIZATION
   CLASS SIX BALLOT FOR ACCEPTING OR REJECTING PLAN OF REORGANIZATION
   DISCLOSURE STATEMENT PLAN DATED: October 14, 2010

 in accordance with FED. R. BANKR. P. 2002 and 11 U.S.C. § 342(c) (if applicable) on parties in interest contained
 on the attached list, for this case, obtained on Tuesday, October 19, 2010, and, if applicable, other interested
 partiesr: via first class United States Mail, postage prepaid, with sufficient postage thereon, to the parties listed on
 the Attached List (2 Parties) matrix, provided by Debtor’s Counsel, as attached and incorporated hereto and
 herein.

 Additionally, the undersigned certifies that on Tuesday, October 19, 2010 at 11:03:35 PM, I served by prepaid first
 class mail a copy of:

   CLASS SIX BALLOT FOR ACCEPTING OR REJECTING PLAN OF REORGANIZATION
   DISCLOSURE STATEMENT PLAN DATED: October 14, 2010

 in accordance with FED. R. BANKR. P. 2002 and 11 U.S.C. § 342(c) (if applicable) on parties in interest contained
 on the attached list, for this case, obtained on Tuesday, October 19, 2010, and, if applicable, other interested
 parties: via first class United States Mail, postage prepaid, with sufficient postage thereon, to the parties listed on
 the Attached List (89 Parties) matrix, provided by Debtor’s Counsel, as attached and incorporated hereto and
 herein.

 Additionally, the undersigned certifies that on Tuesday, October 19, 2010 at 11:05:27 PM, I served by prepaid first
 class mail a copy of:

   CLASS SEVEN BALLOT FOR ACCEPTING OR REJECTING PLAN OF REORGANIZATION
   DISCLOSURE STATEMENT PLAN DATED: October 14, 2010

 in accordance with FED. R. BANKR. P. 2002 and 11 U.S.C. § 342(c) (if applicable) on parties in interest contained




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 on the attached list, for this case, obtained on Tuesday, October 19, 2010, and, if applicable, other interested
 parties: via first class United States Mail, postage prepaid, with sufficient postage thereon, to the parties listed on
 the Attached List (3 Parties) matrix, provided by Debtor’s Counsel, as attached and incorporated hereto and
 herein.

 I, Richard Jump, declare under penalty of perjury that I have served the above referenced document(s) on the
 above listed entities in the manner shown and prepared this Certificate of Service and that it is true and correct to
 the best of my knowledge, information and belief.




                                                                     Richard Jump
                                                                     Bankruptcy Mailing Service.com for
                                                                     Kelly G. Black




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209-BK-23468-CGC Marsh Aviation Co 10-18-2010 Provided Mail List (C1,C6 11 Parties)

Beverly Roberson
7102 East Indigo Street
Mesa, Arizona 85207-2810

Darrell Floate
9708 East Frito Avenue
Mesa, AZ 85208-3128

Paula Lilford
539 North 63rd Place
Mesa, AZ 85205-7571
Tram Luu
4256 East Michelle Avenue
Higley, AZ 85236-0116
Jeffrey Jensen
6318 East Hannibal Street
Mesa, AZ 85205-4541

John Clancy
5659 East Duncan Street
Mesa, AZ 85205-2810

Thomas Gigax
17020 East Salida Drive
Fountain Hills, AZ 85268

B. Kuipers
P.O. Box 80781
Phoenix, AZ 85060-0781

Benno. Kuipers
P.O. Box 80781
Phoenix, AZ 85060-0781

William G. Walker DBA Flightcor
PO Box 8414
Scottsdale, AZ 85252

William G. Walker DBA Flightcor
c/o James F. Kahn, P.C.
301 East Bethany Home Road, Suite C-195
Phoenix, AZ 85012




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 2-09-BK-23468-CGC Marsh Aviation Co 10-18-2010 Provided Mail List (C2,C6 1 Party)

Craig Ford
801 West Victory Way
P.O. Box 97
Craig CO 81626-0097




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2-09-BK-23468-CGC Marsh Aviation Co 10-18-2010 Provided Mail List (C3, C1 and C6 1 Party)

  Edward Allen
  3847 North Desert Oasis Circle
  Mesa, AZ 85207




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2-09-BK-23468-CGC Marsh Aviation Co 10-18-2010 Provided Mail List (C4, C6 1 Party)

Floyd D. Stilwell
4043 East Rancho Drive
Phoenix, AZ 85018




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2-09-BK-23468-CGC Marsh Aviation Co 10-18-2010 Provided Mail List (C5, C6 2 Parties)

Atwood Enterprises Incorporated Liquidation Trust
Bruce T. Atwood
Co-Trustee
P.O. Box 7327
Rockford, IL 61126-7327

Jeffrey M. Schwartz
Drinker Biddle & Reath L.L.P.
191 North Wacker Dr., Suite 3700
Chicago, IL 60610




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2-09-BK-23468-CGC Marsh Aviation Co 10-18-2010 Provided Mail List (C6 89 Parties)

A.L.F. Enterprises, Inc.
9211 North 9th Avenue
Phoenix, AZ 85021

ABS Metallurgicl, Inc.
4313 East Magnolia
Phoenix, AZ 85034

AC Tech Southwest
10489 Commerce Row
Montgomery, TX 77356


Alex Rodriguez
457 North 104th Place
Mesa, AZ 85207

AMC/Radio HWD, Inc.
457 East Grand Street, Suite 3
Escondido, CA 92025

Amer High Performance
PGH Intl Industrial
408 High Tech Drive
Oakdale, PA 15071

America Certified Electric
2742 West Ironwood Drive
Chandler, AZ 85224

Chase Bank
PO Box 94014
Palatine, IL 60094

Citibank (S Dakota) N.A.
P.O. Box 6125
Sioux Falls, SD 57117


Costco-HSBC
P.O. Box 4160
Carol Stream, IL 60197

Dell
P.O. Box 689020
Des Moines, IA 50368


Discount PKG
Arizona Business Park
1620 West Fountainhead Pkwy
Tempe, AZ 85282

                                         Page 1



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2-09-BK-23468-CGC Marsh Aviation Co 10-18-2010 Provided Mail List (C6 89 Parties)
Electro Enterprises
3601 North 1-35
P.O. Box 11456
Oklahoma City, OK 73136

Fed-Ex
P.O. Box 7221
Pasadena, CA 91109

Fred Ruppert
423 Monterosa NW
Phoenix, AZ 85013


Goodrich De-Icing
P.O. Box 71488
Chicago, IL 60694

Herber A/C Service Inc.
1401 East Franklin Avenue
El Segundo, CA 90245

IEC Supply, LLC
1455 est 12th Place
Tempe, AZ 85281

International Air Parts
c/o RMS Collections
305 Fellowship RE #100
Mount Laurel, NJ 08054

JCH Wire & Cable
4527 Losee Road
North Las Vegas, NV 89081

Leland Dean
P.O,. Box 1102
Mesa, AZ 85211


Liu Engineering
2130 East La Vieue Lane
Tempe, AZ 85284

Louie’s Black Oxide
2008 West Jackson Street
Phoenix, AZ 85009


M&M Aerospace
10000 NW 15th Terrace
Miami, FL 33172


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2-09-BK-23468-CGC Marsh Aviation Co 10-18-2010 Provided Mail List (C6 89 Parties)
Metron Technology
P.O. Box 59007
Dallas, TX 75229

Paramount Panels, Inc.
c/o Morgan Stone Associates
1005 Vets Memorial HI 202
Kenner, LA 70062

Pre-Paid Legal Services
P.O. Box 2629
Ada, OK 74821


Protective Armor Vericore
c/o Hammerman & Hultgren P.C.
3101 North Central Ave., #500
Phoenix, AZ 85012

Qwest
P.O. Box 85169
Louisville, KY 40285

R.S. Huges
P.O. Box 21810
Phoenix, AZ 85036

Roanoke Trade
Lone Beach Dept. 8772
Los Angeles, CA 90088

S.S. White Technologies
151 Old New Brunswick Road
Piscataway, NY 08854

Shaw Aero Devices, Inc.
c/o Parker Hannifin
15234 Collections Center
Chicago, IL 60693


Southwest Rigging
2802 West Palm Lane
Phoenix, AZ 85009

Staples Credit Plan
P.O. Box 689020
Des Moines, IA 50368


Technical Controls
P.O. Box 49054
San Jose, CA 95161


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2-09-BK-23468-CGC Marsh Aviation Co 10-18-2010 Provided Mail List (C6 89 Parties)
Telephone Warehouse
20827 North Cave Creed Road #105
Phoenix, AZ 85024

Tennessee A/C Co, Inc.
5005 Market Place
Mount Juliet, TN 37122


Transtar Metals Corp
P.O. 51920 Unit E
Los Angeles, CA 90051

Turbine Weld
402 Substation Road
Venice, FL 34292

Tyco Electonics Corp
P.O. Box 100985
Atlanta, GA 30384

UMPCO
7100 Lampson Avenue
P.O Box 5158
Garden Grove, CA 92846

Unison A/C Parts
c/o D&S, Ltd.
13809 Research Blvd., #800
Austin, TX 78750

United Parcel Service
P.O. Box 894820
Los Angeles, CA 90189

US Technical Consultants
2461 East Orange Thorpe Avenue, #105
Fullerton, CA 92831

Vanseal Corp B 213
Attn: A/R
815 Payne Drive
Vandalia, IL 62471

Western Aviation, Inc.
1611 Windsor Park Drive, Suite 101
Houston, TX 77094


William Walker
10103 North 106th Place
Scottsdale, AZ 85258


                                        Page 4



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2-09-BK-23468-CGC Marsh Aviation Co 10-18-2010 Provided Mail List (C6 89 Parties)
Woodward Govenor
1 Woodward Way
P.O. Box 405
Rockton, IL 61072

Zero MFG
500 West 200 North
North Salt Lake, UT 84054

Precise Metal Products
Precise Metal Spinning
P.O. Box 14089
Phoenix, AZ 85063-4089


Darrel L. Noland
3022 East Alpine Drive
Bellingham, WA 98226-4266

M-DOT Aerospace
3418 South 48th Street, Suite 3
Phoenix, AZ 85040

HARTZELL PROPELLER, INC.
ONE PROPELLER PLACE
PIQUA, OH 45356

Colby & Powell, P.C.
1535 West Harvard Ave., #101
Gilbert, AZ 85233-3054

Larry Adams
c/o Mark A. Tucker, Attorney at Law
2650 E. Southern Avenue
Mesa, AZ 85204

Larry Adams
7443 East Norwood Street
Mesa, AZ 85207


Wallace Herbert
5060 E. Falcon Dr.
Mesa, AZ 85215-2546

Wallace Herbert
c/o Mark A. Tucker, Attorney at Law
2650 E. Southern Avenue
Mesa, AZ 85204

Wallace Herbert
5515 East Adobe
Mesa, AZ 85205

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2-09-BK-23468-CGC Marsh Aviation Co 10-18-2010 Provided Mail List (C6 89 Parties)
John Mckown
654 North 97th Street
Mesa, AZ 85207

John Mckown
c/o Mark A. Tucker, Attorney at Law
2650 E. Southern Avenue
Mesa, AZ 85204

Don McDowell
c./o Mark A. Tucker, Attorney at Law
2650 E. Southern Ave.
Mesa, AZ 85204

Donald McDowell
6366 West Heritage Way
Florence, AZ 85232

Spectrum
P.O. Box 470
Milford, CT 06460

Check Six Consultants
10722 East Greenway Road
Scottsdale, AZ 85255-1811

Diamond J
2020 West Harry
Wichita, KS 67213-3256

Aviall
Campbell Hightower
4645 South Lakeshore Dr., #1
Tempe, AZ 85282

Aviall
P.O. Box 619048
Dallas, TX 75261-9048


Southwest Industrial Rigging
2802 W. Palm Lane
Phoenix, AZ 85009

Industrial Electric Wire & Cable, Inc.
Box 510908
New Berlin, WI 53151-0908

Industrial Electrical Wire
P.O. Box 510908
5001 South Towne Drive
New Berlin, WI 53151
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2-09-BK-23468-CGC Marsh Aviation Co 10-18-2010 Provided Mail List (C6 89 Parties)

Goodrich Corporation
c/o Jim Maxwell
Royal Mercantile Trust
Ten Central Parkway Ste 200
Stuart, FL 34994

Goodrich Corp 89040
Royal Mercantile Trust
10 Central Pkwy, #200
Stuart, FL 34994

Thunder Airmotives, Inc.
1817 East Avenue Q Unit C 15
Palmdale, CA 93550-3955

Glen Madland
12646 North Via Del Sol
Fountain Hills, AZ 85268

Greenberg Traurig, LLP
c/o Kami M. Hoskins, Esq.
2375 E. Camelback Rd., Ste 700
Phoenix, AZ 85016

Greenburg Traurig LLP
2375 Camelback Road, Suite 700
Phoenix, AZ 85016

Greenburg Traurig, LLP
800 Connecticut Avenue NW
Washington, DC 20006

Aircraft Windshield Company
10871 Kyle Street
Los Alamitos, CA 90720

A/C Windshield Company
10871 Kyle Street
Los Alamitos, CA 90720

Parker Hannifin/Air&Fuel Division
6035 Parkland Blvd
Cleveland OH 44124

General Electric Capital Corp
1010 Thomas Edison Blvd SW
Cedar Rapids, IA 52404

GE Capital
PO Box 3083
                                         Page 7



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2-09-BK-23468-CGC Marsh Aviation Co 10-18-2010 Provided Mail List (C6 89 Parties)
Cedar Rapids, IA 52406

Honeywell International, Inc.
1140 W. Warner Road 1233-M
Tempe, AZ 85284-2816

Honeywell
1944 East Sky Harbor Circle
Mesa, AZ 85215

Honeywell Sensotec
Attn: Lori Beetler
1140 Wesdt Warner Rd. MS1233M
Tempe, AZ 85284-2816

Derek Gwee
10558 Eastern Shore Blvd, Apt. 1723
Spanish Fort, AL 36527

Derek Gwee
1050 S. Longmore, Apt. 60
Mesa, 85202




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 2-09-BK-23468-CGC Marsh Aviation Co 10-18-2010 Provided Mail List (C7 3 Parties)

Elizabeth Anne Kleefisch
6626 Dupper Drive
Dallas, TX 75252

Thomas Kleefisch
6626 Dupper Drive
Dallas, TX 75252

Ed Allen
3847 North Desert Oasis Circle
Mesa, AZ 85207




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                                Exhibit F

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